 

 

UNITED STATES OF AMERICA
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
V. : CRIMINAL NO. 3:17-257
ANTHONY FRANK ANGELI : (Judge Mannion)
Defendant

MOTION TO WITHDRAW PLEA

NOW, this 57 day of fot- , 2018, Anthony Frank Angeli, Defendant in the
above-captioned matter, after consultation and assistance of his counsel, hereby moves the Court to

withdraw his previously entered plea of not guilty and to enter a plea of “Uhh. Indictment.

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ANTHONYF RANK ANGELI Z/
ANTHONY?

ORDER

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NOW, this day of 2018, the defendant’s Motion To

 

Withdraw his previously entered Plea of Not Guilty 0 the Ind) t is grange a

Unite’: ates District Court

 

PLEA

fr “
Now, this “ 5 day of 7: ae , 2018, the above-named Defendant, Anthony
Frank Angeli, hereby withdraws his previously entered plea of not guilty and pleads guilty to the

Indictment.
leh RANK (Me GELI
Defend

 

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